ROBERT C. COFFEY, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Coffey v. CommissionerDocket No. 36301.United States Board of Tax Appeals21 B.T.A. 1242; 1931 BTA LEXIS 2226; January 19, 1931, Promulgated *2226  1.  Amounts expended by a physician in attending medical conventions allowed as business expenses.  2.  The depreciated cost of improvements made to property leased with an option to purchase allowed as a loss in the year in which the lease expired and the improvements reverted to the lessors.  Charles E. McCulloch, Esq., for the petitioner.  Arthur H. Murray, Esq., for the respondent.  ARUNDELL*1242  Proceeding for the redetermination of deficiencies in income taxes for 1924 and 1925 in the respective amounts of $1,466.85 and $248.02.  The issues are whether sums expended in 1924 and 1925 in attending medical conventions are deductible as business expenses, and whether a loss was sustained in 1924 when improvements made to property leased with an option to purchase were surrendered to the lessors.  FINDINGS OF FACT.  The petitioner, a physician specializing in surgery, is engaged in the practice of his profession in Portland, Oreg.  During the taxable years, with the exception of qualifying shares, he owned all of the capital stock of the Portland Surgical Hospital, a corporation operating a hospital in Portland, and was a member of the*2227  partnership of Coffey, Sears &amp; Johnson, engaged in the practice of medicine in the same city.  In 1924 and 1925 the partnership expended the respective amounts of $962.66 and $497.09 for expenses incurred by the petitioner in attending medical conventions, at which he gave lectures or presented medical papers.  In 1925 petitioner expended the sum of $258.70 in connection with his attendance at medical conventions.  The petitioner's presence at the conventions was necessary for the successful conduct of his and the partnership's business.  The respondent disallowed *1243  all of the expenditures as business expense.  As the result of his disallowance of the amounts expended by the partnership, respondent increased petitioner's net income in the taxable years by $569.58 and $294.11, respectively.  During December, 1918, the petitioner became the lessee for a term of five years beginning February 1, 1919, of a piece of residential property adjoining the property he was then occupying as a residence.  The lease contained an option to purchase the property during the term of the lease at a price of $9,000, and provided that upon the surrender of the premises all improvements made*2228  to the property would revert to the lessors.  The option was taken because of the inability of the petitioner both to purchase the property and make the necessary improvements in 1919.  The lease was acquired for the immediate purpose of providing a home for petitioner's married son, Jay R. Coffey, and ultimately using the lot and two adjoining parcels of land as a site for an apartment house.  The petitioner selected property adjoining his residence so that his son would be nearer to discuss business problems and to make his medical library immediately available to the son.  In 1919 the petitioner expended the sum of $11,541.36 in improving the residence and constructing a three-car garage on the premises.  Borrowed money was used to make the improvements.  Thereafter the residence was occupied by Jay R. Coffey, and his family, and Mrs. Richardson.  The garage was constructed for the use of Mrs. Richardson, Jay R. Coffey, and an employee of the Portland Surgical Hospital.  Mrs. Richardson was superintendent of the Portland Surgical Hospital and received a salary from it for her services.  Jay R. Coffey studied medicine at the University of Oregon from 1919 until his graduation*2229  in 1923.  During that period he assisted his father in performing operations at the hospital, for which services he received no compensation other than a sufficient amount from petitioner to Pay his school expenses and otherwise maintain himself and family.  He paid no rent to petitioner for the use of the dwelling he was occupying.  In 1923 petitioner's son decided to prepare himself to be a surgeon, and in August of that year he left Portland to take up a year's internship at a hospital in Baltimore, Md., preparatory to taking a three-year course in surgical work at Rochester, Minn.  At that time the value of the property as a site for an apartment house was not more than $5,000.  Promptly after his son left for Baltimore petitioner listed the leased premises with a real estate broker for sale at a price of $15,000.  The broker was unable to obtain an offer for the property.  Upon the expiration on January 31, 1924, of the term of the lease, *1244  the property, including the improvements made thereon, reverted to the lessors.  In 1919 the petitioner expected that his son would remain with him permanently as his assistant.  At that time Jay R. Coffey also expected to remain*2230  in Portland and continue to act as an assistant to his father.  Petitioner would not have made the improvements to the premises if he had not intended to exercise the option given him to purchase the property, and such intention continued until Jay R. Coffey decided to leave Portland.  The respondent in computing petitioner's tax liability for 1923 allowed as deductions $2,308.27 representing one-fifth of the cost of the improvements made to the premises, and $350 for rent paid for the leased property.  The latter amount was allowed as a business expense.  In his return for 1924 petitioner claimed as a loss on the transaction the sum of $10,283.09.  The respondent denied the claim and allowed as a deduction the sum of $192.36 representing amortization of the cost of the improvements over the term of the lease for the month of January, 1924.  OPINION.  ARUNDELL: The sums expended in attending conventions of medical societies are deductible as ordinary and necessary business expenses.  , and *2231 . The sole question raised by the pleadings and at the hearing under the other issue is whether the depreciated cost of the improvements made to the leased property may be taken as a loss in the year 1924, when the lease expired and the option to purchase was allowed to go unexercised.  The respondent's position is that the petitioner was entitled to recover his capital outlay of $11,541.36 ratably over the five-year period of the lease.  The petitioner's position is that the expenditure of the relatively large sum for improvements was solely with the idea that he would exercise his option to purchase the property for $9,000, and in view of the circumstances the proper thing for him to do was to capitalize his outlay and recover the sum by means of an annual allowance for depreciation.  The rate of depreciation as taken by petitioner is not in dispute if the method employed by him be accepted as proper by the Board.  It seems to us that the method adopted by the petitioner is correct in the circumstances of this case.  Not only do we have the testimony of petitioner that he intended to exercise the option to purchase the property, but the*2232  attendant circumstances clearly indicate that he so intended.  It *1245  would have been out of all reason for him to have made the expenditures he did for improvements if they were to pass to another at the end of the five years.  We think that the cost of the improvements properly depreciated should be allowed as a deduction in 1924.  Respondent for the first time in his brief attempts to raise the question whether any allowance should be permitted, taking as his premise that the property was acquired for a member of petitioner's family and as such was a personal expense.  We think the issue is raised too late.  While there is some testimony in the record which lends support to respondent's argument, the parties throughout the trial proceeded on the theory that the only question in dispute was the manner in which the petitioner's outlay might be recovered, as more fully stated earlier in this opinion.  Reviewed by the Board.  Decision will be entered under Rule 50.STERNHAGEN dissents.  